                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                          CIVIL NO. 1:20-cv-00108

 UNITED STATES OF AMERICA,                         )
 Plaintiff                                         )
       v.                                          )
                                                   )     ENTRY OF DEFAULT
 OJ GARY ENTERPRISE LLC,                           )
 AND ORENTAL JEROME GARY,                          )
 Defendants                                        )


       THIS CAUSE COMES BEFORE THE COURT upon the United States of America’s

Motion for Entry of Clerk’s Default pursuant to Rule 55(a) of the Federal Rules of Civil

Procedure. Based on the Plaintiff’s Motion and the record, Defendants OJ Gary Enterprise

LLC, and Orental Jerome Gary have failed to appear, plead, or otherwise defend in the

above action, and more than 21 days have elapsed since the date on which Defendants were

served, thus, the Defendants are now in default.

       NOW, THEREFORE, default is hereby entered against Defendants OJ Gary

Enterprise LLC, and Orental Jerome Gary pursuant to Rule 55(a) of the Federal Rules

of Civil Procedure.




                                        Signed: November 4, 2020




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